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                                                                                            FILED BY 'G              D,C.
                            IN THE UNITED STATES DISTRICT COU T                                    2ES 30 201S
                          FOR THE SOUTHERN DISTRICT OF FLO DA ktkjjutjjjyg;'
                                                                                                     o oo,a .ul# I
       DAM ASO RIVERA FONSECA,

                       Petitioner,

       V S.                                                       D ocketN o.:1:15CR 20802

       U N ITED STATE S O F A M ERICA ,

                       R espondent.

                                                      /

              PE TITIO N E R 'S M E M O R A N D U M O F LA W IN SU P PO R T O F M O TIO N
               TO CO R R E CT V A CA T ES A N D /O R SET-A SID E C O NV IC TIO N A N D
                        SENTEN CE PURSUANT TO TITLE 28 U.S.C.j2255
                                            TA B LE O F CO N TEN TS




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        Fonseca the application ofthe guidelines,the strength ofthe governm ent's
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           Comesnow DamasoRiveraFonseca,(dFonseca'')with thismemorandum oflaw
       in support ofthe m otion to correct and/or set aside conviction and sentence

       pursuanttoTitle28U.S.C.j2255 and in supportprovidesasfollows:
                       SU M M A R Y O F T H E P R O C ED U RA L H IST O R Y

           Fonseca wascharged by a grand jury sitting in the Southern DistrictofFlorida
       in a three-countindictm entwith,being a felon in possession ofa firearm and

       ammunition,in violation of18U.S.C.j922(g)(1)(Count1)*
                                                           ,possession with the
       intenttodistributeacontrolledsubstance,in violation of21U.S.C.j841(a)(1)
       (Count2);andpossession ofa firearm in furtheranceofdrugtrafficking,in violation
       of18 U.S.C.j924(c)(1)(A)(Count3).(Dkt.6).Afterseveraldaysoftrial,thejury
       returned a verdictofguilty asto allcounts.(Dkt.73).
           O n August 2,2016,the districtcourt sentenced Fonseca to 235 m onths of

       im prisonm ent,consisting of 115 m onths on Counts 1 and 2 and 120 m onths to be

       served consecutivelyon Count3.(DE 88).Fonseca appealed,however,on
       Septem ber 10,2018,the E leventh Circuitaffirm ed the conviction and sentence.

        United Statest?.Fonseca,2018U.S.App.LEXIS 25638(1lth Cir.Sep.10,2018).A
       writofcertiorariw asdenied on January 7,2019.Fonseca &.United States,139 S.

       Ct.846 (2019).Thistimely motion tovacate sentenceandconviction follows.
                              A LLEGATION O F JU RISDICTION

           ThisCourthasjurisdiction toentertain,ruleon themerits,andgrantrelief
       underTitle28U.S.C.j2255 andtheprinciplesofStrickland t?.Washington,466
       U .S.668,80L.Ed.2d 674,104 S.Ct.2052 (1984).
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                 STA TEM EN T A S TO W M V E R ,CA U SE ,A N D P R E JU D ICE

           Fonseca did not raise claim these claim s on direct appealbecause the facts set

       forth in hisj2255wereand arematerialtotheclaim ofineffectiveassistanceof
       counsel,but w ere not part ofthe record for direct appeal. tdcause''is therefore

       established for his failure to raise the claim prior to this m otion.Ciak t?.U nited

       States, 59 F.3d 296,303-304 (2nd Cir.1995).
                                                 ,Bond t?.United States,1F.3d 631(7th
       Cir.1994);Stoia I
                       J.United States,22 F.3d766 (7th Cir.1994)(prisoner'sfailureto
       raise ineffective assistance ofcounselclaim on direct appealw illresult in forfeiture

       ofrighttobringj2255 motion only when claim isbased entirelyon trialrecord);
       English &.United States,42F.3d 473,481(9th Cir.1994)(holdingthatsection 2255
       claimsarewaivedforfailuretoraisethem on directappealonly if(1)a specific
       proceduralrule required the defendantto raise the issueson directappealor(2)the
       failuretoraisethe issueswasa deliberatebypassofdirectreview.)Even ifthe
       record on appealis subsequently determ ined to have been sufficient to raise the

       instantclaim s ofineffective assistance ofcounsel,cause exists for the failure of

       Fonseca to raise the claim sprior to this m otion because it reasonably appeared at

       the tim e offiling the appealthat new evidence m ightbe necessary to support his

       claim .

           Cause exists for the failure ofFonseca to raise the instant claim s ofineffective

       assistance ofcounselin his direct appealbecause such claim s should not be brought

       in directappealeven ifthe record isor was sufficientto raisethe claim s. United

       States&.Hardamon,188 F.3d 843 (7th Cir.1999);United States&.Galloway,56
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       F.3d 1239,1240-43(10thCir.1995)(en banc);United Statest?.Tunstall,17F.3d 245,
        246 (4)(8thCir.1994).Fonseca hasproperlypleadedddprejudice''bypleadingthe
       ddfundam entaldefect''in his sentence,as setforth herein.W tzrd r. United States,

        995 F.2d 1317,1321(6th Cir.1993).Wprejudice''toFonseca,within themeaning of
        United States t?.Frady,456 U .S.152,(1982),asconstrued in United States t?.DeLa
       Fuente,8F.3d 1333,1336-37 (9th Cir.1993)isestablishedbythefactthatabsent
       reliefby this Court,Fonseca's sentence is in violation ofthe Constitution and law s

       oftheUnited States.Id. SeealsoIsabelt
                                           J.United States,980 F.2d 60,64(1stCir.
        1992)Cprejudice''established,forpurpose of(dproceduralbypassquestion''wherej
        2255movant'sttsentencingrangewould bereduced''ifsuccessfulon claim).
          B ased on the foregoing,and the absence ofany know ing and intelligentw aiver

       by Fonseca ofhisrightto bring thism otion,thisCourtisnotpreduded by the

       Rcause and prejudice''principle from entertaining,ruling on the m erits,and
       granting the reliefrequested.

                                 STATEM ENT O F TH E FA CTS

           On October 5,2015,atapproxim ately 2:44 a.m .,the City ofAventura Police

       Department(d$APD'')received a 911callfrom the managerofaW algreensstore
       located at18635BiscayneBoulevard,in Aventura,Florida.(Dkt.98 at229).The
       m anagerreported thattherew as a fem ale (lateridentified asFonseca's girlfriend,
       BridgetNewman)insideofthestorewhowasupsetand statingthatherboyfriend
       w as outside in the parking lot,in a blue van w ith an M 1-15 rifle,and he w as going

       to com e in and killeveryone in the W algreens.1d. ln response to the call,APD
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      officerswere dispatched to the scene,where they observed a blue van m atching the

      reported description with itsengine running thatwasbacked into a well-litparking

      space directly in frontofthe W algreensentrance.Id.at231-32. The Officers

      allegedly saw Fonseca m oving around in the back ofthe van,holding whatappeared

      to be a rifle.Id. at234-35;(Dkt.99 at8). The Officers ordered Fonseca outofthe
      van wherehewastaken intocustody.(Dkt.98 at236-37).W hen oneoftheofficers
       initially w alked pastthe van during Fonseca's arrest,they sm elled a strong odor of

       marijuanacomingfrom thevan.Id.at240.Also,in theplacewhereFonseca was
       sitting,an officer observed w hat appeared to be the stock ofa rifle.1d. A loaded A R -

       15 rifle,w ith a bullet in the cham ber and the gun setto fdfire''m ode,w as obsem red in

      plain view through the van'sopen door.(Dkt.98 at242;99 at42-43).
          Thevan wassearchedafterFonseca'sarrest.(Dkt.99at32-34).Additionally,
      per A PD police,the van w as tow ed and inventoried because neither Fonseca nor

       Newman wasitsregisteredowners.(Dkt.97at24-26).Duringtheprocessingand
       inventorying ofthe van,law enforcem entofficers found,am ong other things,sixty-

       seven roundsofam munition,44gramsofm arijuana,16 gram sofcocaine,plastic
       baggies,a digitalm easuring scale,hundreds ofdollars in cash,a hollow ed-out sugar

       container,and m ultiple cellphones,allin close proxim ity to the loaded A 11,-15 rifle.

       (Dkt.99 at35-38,40-43,47-54).Afterhisarrest,theUnited StatesBureau of
      Alcohol,Tobacco,and Firearm s((ATF'')agentsinterviewed Fonseca.(Dkt.97at63-
       64).Theinterview wasaudioandvideorecorded.Id.at64.Duringtheinterview,
       Fonseca invoked his rightto counseland the ATF agent ceased allquestioning.Id.



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       at66.Fonsecawastold hewould betaken totheFederalDetention Center(idFDC'').
       W hile being transferred via the sally port,he saw his girlfriend,N ew m an,sitting in

       am arkedpolicevehicle.Id.at70-71;(Dkt.99 at227).AfterobservingNewman in
       the police vehicle,Fonseca m ade severalstatem ents regarding the drugs and gun

       foundin hispossession.Dkt.97at72,75-76;(Dkt.99 at227-28).Fonsecaallegedly
       adm itted that the A R-15 rifle and narcotics that w ere recovered from the blue van

       belonged to him and that N ew m an should notface any crim inalcharges related to

       the item s.(Dkt.97 at72;99 at227).During the drive from the police station to the
       FDC,Fonseca allegedly statedthathehadthefirearm forhisprotection.(Dkt.97at
       74;99 at228).He further stated thathe had m any enem ies and people who were
       looking to hurt him and that he preferred to have the firearm w ith him and be

       caughtby thepolicethan nothavethefirearm andbekilled. (Dkt.97at74).
           A s previously m entioned,Fonseca proceeded to trialand w as convicted ofall

       counts in the indictm ent. A t sentencing,the courtupw ard departed on Fonseca's

       sentence by 6o-m onths,sentencing Fonseca to 235-m onths,a variance of6o-m onths

       above the requested guideline range of 175 m onths the governm entrequested.




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                                            A RG UM EN T

       1.THE COW ICTIO N OF DAM ASO FO NSECA VIOLATIVE O F H lS SIXTH
       AM EN DM EN T RIG H T TO E FFECTIVE ASSISTAN CE OF COU N SEL

           A.The perform ance ofcounselfor Fonseca fellbelow an objective
           standard ofreasonableness during the trialphase.

                     1.Standard of R eview - lneffectiveness Prong

           ln Strickland r?.W ashington,466 U .S.668,80 L.Ed.2d 674,104 S.Ct.2052

       (1984),theSupreme Courtestablished atwo-prongtesttogovern ineffective
       assistance ofcounselclaim s. To obtain reversalofa conviction or to vacate a

       sentencebased on ineffectiveassistanceofcounselthe defendantm ustshow:(1)
       thatcounsel'sperform ancefellbelow an objectivestandard ofreasonableness'
                                                                               ,and
       (2)thatthereisareasonableprobabilitythat,butforcounsel'sobjectively
       unreasonable perform ance,the result ofthe proceeding w ould have been different.

       1d.466 U .S.at 688-689;W illiam s t?.Taylor,120 S.Ct. 1495,1512-16;146 L .Ed.2d

       389 (2000).The Courtstatedthattjudicialscrutinyofcounsel'sperformancemust
       be highly deferential''and added thatdda courtm ustindulge a strong presum ption

       thatcounsel'sconductfallswithin the widerange ofreasonableprofessional

       assistance''.fd. The Court clarified thatthis reference to Rhighly deferential

       scrutiny''lreferred only to the first or perform ance prong ofthe test and m eant that,
           G
               the defendantm ustovercom e the presum ption that, under the
               ...

           circum stances,the challenged action im ightbe considered sound trialstrategy.'''

      Id. Strickland &.Washington,466 U .S.at689-691.


       1The Courtstated thatttfactorsw hich m ay actually have entered into counsel's
       selection ofstrategies and ...m ay thus affect the perform ance inquiry ... a re
       irrelevanttotheprejudiceinquiry.''Strickland &.,Washington,466 U.S.at695.

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           The Courtadded that,
           tt
               strategic choices m ade after thorough investigation oflaw and facts relevant
            .. .

           to plausible optionsare virtually unchallengeable;and strategicchoicesm ade
           after less than com plete investigation are reasonable precisely to the extent
           thatreasonableprofessionaljudgmentssupportthelimitationson
           investigation.ln otherwords,counselhas a duty to m ake a reasonable and
           properdecision thatm akesparticularinvestigationsunnecessary.''Id.

           Tw o years after its Strickland decision,the Court reaffirm ed thatthis portion of

       the decision sets forth w hat test can be m ade in evaluating w hether counselw as

       within therangeof<treasonableprofessionalassistance'',orfellbelow an objective
       standard ofreasonableness.zK inïntelm an &.M orrison,477 U .S.365, 385-387,91

       L.Ed.2d 305,106 S.Ct.2574 (1986);W illiam s t?.Taylor,120 S.Ct.1495,1512-16,146
       L.Ed.2d 389(2000).TheSupreme Courtnotedthatddasingle,seriouservorm ay
       support a claim ofineffective assistance ofcounsel.'?Id. K intntelm an &.M orrison,

       477 U .S.at 384. The Court added that this Rsingle serious error''could cause

       counsel'sperform ance to fall(tbelow thelevelofreasonableprofessionalassistance'',

       even w hete,ttcounsel's perform ance at trialw as tdgenerally credible enough''and

       even where counselhad m ade t'vigorous cross-exam ination,attemptsto discredit

       witnesses,and (anlefforttoestablish a differentversion ofthefacts.''Id. 477U.S.
       at386.3 The governm entargued,and the Courtagreed thatthe determ ining factor



      2This presupposes,for the instant argum ent,that the defendantprovided counsel
      with com plete and accurate inform ation and did notplace any restrictions on
      counsel'sstrategy.Id.Strickland t?W ashington,466 U .S.at691.

       3See also M urray l?. Carrier,477 U .S.478,496,91L.Ed.2d 397,106 S.Ct.2639
       (1986)C'rhe rightto effective assistance ofcounsel...m ay in a particularcase be
      violated by even an isolated errorofcounselifthaterrorissuflciently egregious
      andprejudicial.'')
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      w as w hether or notcounsel's dtsingle serious error''or ddfailure''w as the resultof,or

      attributable to,a trialffstrategy.''Id.477 U .S.384-386,
                                                             .W illiam s 0.Taylor, 120 S.Ct.

       1495,1512-16;146L.Ed.2d389 (2000).TheCourtthen found thatno(dstrategy''
      w as involved in thatcase and that counsel's perform ance thereby fellbelow the

      Strickland t?.Wasltington objectivestandardbecausecounsel'sfailurewasbasedRon
      counsel'sm istaken beliefs''asto the laws governing discovery.Id. 477 U .S.at385.

          The Suprem e Court added:

          idview ing counsel's failure to conduct any discovery from his perspective atthe
          tim e he decided to forego that stage ofpretrialpreparation and applying a
          dheavy measureofdeference',ibld.,tohisjudgment,wel'
                                                            ind counsel'sdecision
          unreasonable,that is,contrary to prevailing professionalnorm s.The
          justification Morrison'sattorneyoffered forhisom ission betray a startling
          ignorance ofthe law --or a w eak attem pt to shiftblam e for inadequate
          preparation.tcounselhas a duty to m ake reasonable investigations or to m ake
          a reasonable decision that m akes particular investigations unnecessary.'Id.
          R espondent's law yer neither investigated nor m ade a reasonable decision notto
          investigate the State's case through discovery.''

      1d. K im ntelm an I?.M orrison,477 U .S.at 385.

          ln other w ords,the Courtdeterm ined that counsel's om issions w ere notpart of

      any ttstrategy''or trialtactic because they had notbeen taken after a thorough

      investigation ofthe law and facts relevantto a1lplausible options available to

      counsel. From this,the Court determ ined that the om issions w ere professionally

      unreasonableandhadcaused counsel'sperform ancetofallbelow theobjective
      standard ofStrickland.K im m elm an t?.M orrison,477 U .S.at 385-387'
                                                                          ,W illiam s t?.

      Taylor,120 S.Ct.1495,1512-16;146L.Ed.2d 389(2000).ln short,nodeferenceis
      due to counsel's actions,and the perform ance ofcounselfalls below the Strickland




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       objectivestandardofreasonableness4ifcounsel'sspecificactsoromissionsarenot
       dem onstrablys the result of actualstrategic choices m ade betw een or am ong all

       plausibleoptionstdafterthorough investigation oflaw and factsrelevantto all

       possible options.''Strickland,466 U .S.at 691.
                                                    ,K inïm elnïan t?.M orrison,477 U .S.at

       385-387;W illiants r?.Taylor,120 S.Ct.1495,1512-16,146 L.Ed.2d 389 (4-18-00).6
           W here a convicted defendantism aking a claim ofineffective assistance of

       counsel,the defendant tdm ust identify the acts or om issions ofcounselthat are

       alleged notto havebeen the resultofreasonableprofessionaljudgm ent.''Id.


       4Forpurposesofthisportion ofthe Strickland analysis,the Courtpresum esthat
       counsel'sfailureswereatleastpotentially prejudicialtothedefendant.Kimntelman
       I?.M orrison,477 U .S.at 365,387,390-91.

       5
       R
          Scc United States&.Burrows,872 F.2d 915,918-919 (9th Cir.1989)(record must
         conclusively''dem onstrate strategic natureofcounsel's actions);Harris &.Reed,894
       F.2d 871,878 (7th Cir.1990)(reviewing courtshould (tnotconstructstrategic
       defenses which counseldoesnotoffer'')(citing K intmelman &.M orrison,477 U .S.at
       386);M offett?.Kolb,930F.2d 1156,1160-61(7th Cir.1991)(counsel'sunexplained
       failure to use available police report,to im peach prosecution w itness's statem ents
       and supporttheory ofdefense,below objectivestandard ofStrickland); United
       StatesI
             J.Acklen,47F.3d 739,743-44 (5th Cir.1995)(remandingforevidentiary
       hearing w here there w as nothing in record to indicate counsel's failures w ere
       attributable to strategic choice am ong allplausible alternatives available for
       defense);United Statest?.Dawson,857F.2d 923,929 (31-d Cir.1988)(absent
       evidencein therecord,Gthiscourtwillnotspeculateon trialcounsel'smotiveshh);
       Nicholst?.United States,75 F.3d 1137 (7th Cir.1996).
       6 The courts have decided that counsel's failure to consider or investigate law s and
       facts relevant to potentially viable defenses cannot be said to be the resultof
       reasonableprofessionaljudgment,norcan itbetermedRstrategic''ortttactical'or
       ddobjectively reasonable''becausedtcounselcan hardlybe saidtohavemadea
       strategic choice againstpursuing a certain line ofinvestigation w hen he has not yet
       obtained the factson which such,a decision could be m ade.''Grcy,supra,878 F.2d
       at711(citingStrickland,466U.S.at690-91);Holsonïback t?.White,133 F.3d 1382
       (11th Cir.1998)(sam el;Nichols I?.United States,75 F.3d 1137 (7th Cir.1996).


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      Strickland t?.Washington,466 U .S.at690. lfthe record does notttconclusively''

      dem onstrate tdstrategicreasons''forcounsel's failures,the districtcourtentertaining

      am otion under28USC j2255musthold an evidentiary hearing.7.4 subsequent
      affidavitfrom counselwillnotsufficetoestablish a trialstrategy,norabsolvethe
      districtcourtfrom therequirementofholding an evidentiary hearing.8
          ln the instant case,Fonseca has m ade specific,sw orn,factualallegations w llich

      this Court should accept as true for the purpose ofconsidering w hetherto hold an

      evidentiary hearing because they are not conclusively disproved by the files and

      records ofthis case.

          The allegations ofFonseca as to the dtperform ance''ofcounselinclude the

      follow ing:

                                         C LM M O N E

          1. Fonseca w as represented by attorney Christopher D ecoste during the
          criminaltrialand sentencing.Attorney M ark KatzefClfatzef')addressedthe
          direct appeal.



       7SccUnited Statest?.Burrows,872F.2d915,918-919 (9th Cir.1989);United States
       &.Briggs,939F2d 222,228 (5th Cir.1991);United Statest?.Estrada,849F.2d 1304,
       1306-1307(1stCir.1988)and Virgin Islandst?.Weatherwax,20F.3d572,573 (31-d
       Cir,1994);Shaw &.United States,24F.3d 1040,1043 (8thCir.1994)(petitioner
      entitled toevidentiary hearing on claim ofineffective assistance ofcounselunless
      claim inadequate on itsface orifrecordsconclusively refute factualassertionsof
      claim);United Statest?.Blaylock,20 F.3d 1458,1465 (9th Cir.1994)(evidentiary
      hearingrequiredunlessj2255 motion,files,andtrialrecord ttconclusively show''
      petitionerentitledtonorelieg and Nicholsr?.United States,75F.3d 1137 (7th Cir.
      1996)(same).
      8SccSntith t?.M ccorntick,914F.2d 1153,1170(9th Cir.1990)and United StatesI?.
      Giardino,797 F.2d 30,32(1stCir.1986)andLindhorst&.United States,585F.2d
      361,365 (8thCir.1978).


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          2. Decostewasretainedandpaid a11feesbyBridgetNewman (dNewman'h).
          (SeeExhibitA).
          3. After New m an retained Decoste,itw as decided thatN ew m an would testify
          for the defense and be called as a w itness to establish thatthe firearm that w as
          attributed to Fonseca,w as in herpossession notFonseca'son the date ofthe
          incident.(SeeExhibitA).
          4. A t no tim e,did D ecoste ever explain that there w as conflict w ith having an
          accuser,New m an,pay thelegalfeesforFonseca.(SeeExhibitA).
          5. H ad D ecoste explained the possibility ofa conflict,Fonseca w ould have
          neverretained him forthe representation.(See ExhibitA).
          6. D uring pre-trialpreparation,there w as never any explanation ofthe
          strength ofthe governm ent's case,the extensive evidence thatthe governm ent
          had,nor the possibility that Fonseca could receive such an elevated sentence as
          he received.(See ExhibitA).
          7. H ad there been an explanation ofthe extensiveness ofthe evidence,the
          guidelines and allpossible upw ard departures,Fonseca w ould have never
          proceeded to trial,w ould have pled guilty and w ould have m itigated his overall
          sentence.

          8. A fter sentencing,K atzefw as appointed for the appeal.

          9. K atzefw as explicitly told that Fonseca w anted to appealthe upw ard
          departure atsentencing.(SeeExhibitA).
          10.The upw ard departure w as preserved for appealas the m ain issue to
          addresson appeal,however,Katzeffailed to addressthe issue on appeal,even
          afterFonseca advised him severaltimes.(SeeExhibitA).
          11. Fonseca eventually had to subm ithis ow n briefto the appellate court
          raising the issue,w ith lim ited resources,w ithout success.

          12.Counsel'somissionsassetforth in !'s3-llwerenottheresultofreasoned
          decisions based on strategic or tacticalchoices m ade am ong al1plausible options
          available to counselforthe defense ofFonseca.

          13.Counsel'somissionssetforth in 5's3-11werenottheresultofcounsel's
          abdicationo/thedutyand responsibilitytoadvocateFonseca'caseduringthe
          trialand appellate phases.
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           2.Standard ofReview -Prejudice Prong
          ln writing forthemajorityin Strickland &.Washington,466 U.S.668,80
       L.Ed.2d674,104S.Ct.2052 (1984),JusticeO'Connorstated thegeneralrulethat
       actualineffectiveness claim s alleging a deficiency in attorney perform ance are

       subjecttoa generalrequirementthatthedefendantaffirmativelyproveprejudice.''
       1d. 466 U .S.at 693,80 L.Ed.2d at 697. M ore specifically,Justice O 'Connor set

       forth thenow well-known statementofthetestforddprejudice''in claimsofactual
       ineffectiveness ofcounselas:

           ddrlahe defendant m ust show that there is a reasonable probability that,but for
           counsel's unprofessionalerrors,the result ofthe proceeding w ould have been
           different.A reasonable probability is a probability sufficient to underm ine
           confidence in the outcom e.''

       fd. 466 U .S.at 695,80 L .E d.2d at 698.

          W hile the Court noted the governm ent's,perhaps natural,inclination to argue

       that attorney error is harm less unless the defendantcan show that iicounsel's

       deficient conduct m ore likely than not altered the outcom e ofthe case'',9the Court

       specifically andexplicitlyrejectedthisargumentbythegovernment.
           In rejectingany outcome determinativetestsuch asthatemployed in Federal
       Rule ofCrim inalProcedure 33 analysis,the Court stated:

          The resultofa proceeding can be rendered unreliable,and hence the proceeding
          itselfunfair,even ifthe errors ofcounselcannot be show n by a preponderance of



       9This,ofcourse,m eansthatthetplain error''standard also doesnotapply to
       ineffective assistance ofcounselclaim s.1d.See United States n.Olano,507 U .S.
       725,735(1993)(plain errordtmustberealand such thatitprobablyinfluencedthe
       verdict.'')
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           the evidence to have determ ined the outcom e. Id. Strickland r?.Washington,
           466U.S.at694;W illiamsTaylor,120S.Ct.1495,1519,(2000).10

           TheCourtfurtherspecificallyrejectedtheapplication oftheGactualprejudice''
       standard ofUnited States &.Frady,456 U .S.152,71 L.Ed.2d 816,102 S.Ct.1584

       (1982),toclaim sofineffectiveassistanceofcounsel,with thefollowing
       adm onishm ent'
                     .

           ddrlahe principles governing ineffectiveness claim s should apply in federal
           collateralproceedings as they do on directappealor in m otions for a new trial.
           Asindicatedbythetcauseandprejudice'testforovercom ingproceduralwaivers
           ofclaimsoferror,thepresumption thatacriminaljudgmentisfinalisatits
           strongestin collateralattackson thatjudgment.Scc United States&.Frady,456
           U .S.152,162-169,71 L.Ed.2d 816,102 S.Ct.1558 (1982).An ineffectiveness
           claim ,how ever,as our articulation ofthe standards that govern the decision of
           such claim s m akes clear,is an attack on the fundam entalfairness ofthe
           proceedings w hose result is challenged.Since fundam entalfairness is the
           centralconcern ofthe w rit ofhabeas corpus,scc Id. at 126,no special
           standards ought to apply to ineffectiveness claim s m ade in habeas proceedings.''

       Id. Strickland,466 U .S.at 697-98,80 L.Ed.2d at 700.11


       10Sccalso United States&.Day,969 F.2d 39,45and (n.3)(31-d Cir.1992);United
       States&.Loghery,908F.2d 1014,1018-1020 (D.C.Cir.1990).W hilesome Courts
       have held that Lockhart&.Fretw ell,506 U .S.364,373,122 L.E d.2d 180, 189,113
       S.Ct.838 (1993)modified Strickland tttorequirea separateinquiry into
       fundamentalfairnesseven when (Petitioner)isabletoshow thathislawyerwas
       ineffective and that his ineffectiveness probably affected the outcom e ofthe
       proceeding'',WilliamsI?.Taylor,120 S.Ct,1495,1512-16,146L.Ed.2(1389 (2000),
       thisconstruction ofLockhartIp.Fretwell,wasspecifically addressed andrejectedby
       the Suprem e Court in W illiam s t?.Taylor.The Suprem e Court's holding in Lockhart
       l?.Fretw ell,w as lim ited to circum stances w here the (
                                                               fdifferent outcom e''w ould be
       contrary to the law .Id. A s Justice O 'Connor carefully pointed outin Lockhart t?.
       Fretwell,:
           H
              today'sdecision will,in thevastm ajorityofcases,havenoeffecton the
               .. .

           prejudiceinquiryunderStrickland.Thedeterminativequestion -whether
           there is dreasonable probability that,but for counsel's unprofessionalerrors,the
           resultofthe proceeding would havebeen different'...rem ains unchanged,''1d.
           506U .S.at373 (O'connor)(concurring).
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            The Court hearing an ineffectiveness claim should consider the totality ofthe

       factors w hich guided the decision-m aker in the challenged proceeding,then try to

       determ ine w hich factors w ere or w ere not Raffected''by counsel's errors.

            ttrlaaking theunaffected (factorslasagiven,and takingdue accountoftheeffect
            oftheerrorson theremaining gfactorsla courtm akingtheprejudiceinquiry
            m ust ask ifthe defendant has m etthe burden ofshow ing that the decision
            reached w ould reasonably likely have been different absent the errors.''

       Id. Strickland t?.W ashington,466 U .S.at 696,80 L.E d2d at 699.

            W here through dthindsightMlzthe Court can determ ine that,but for the errors of

       counsel,there is a ddreasonable probability''of a differentoutcom e,a probability

       sufficientto ttunderm ine confidence''in the challenged proceedings,the defendant

       hasaffirm atively provenprejudice.Strickland,466 U.S.at694-95,.United StatesI?.
       Glover,121S.Ct.696(2001);Williamst?Taylor,120S.Ct.1495,1512-16,146
       L.Ed.2d 389(2000).13


       11SeeAspzpzp/mtzn &.M orrison,477U.S.at375,393and (n.11(demonstration oftûa
       reasonable probability''thatthe verdictwould have been differentconstitutes
       dd
        actualprejudice''in claimsofactualineffective assistanceofcounsel);Oshorn t7.
       Shillinger,861F.2d612,626and (n.13)(10th Cir.1988)(same);Smith 0.United
       States,871F.supp.251,255 (ED.Va.1994)(same).
       lzLockhartl?.Fretwell, 122 L.Ed.2d at 189-91'
                                                   ,M ayo t?.H enderson,13 F .3d 528,534
       (2nd Cir.1994)(prejudicedetermination,unlikeperformancedetermination,m ay
       bemadewith benefitofhindsightn).
       13In Williamsu.Taylor,120 S.Ct.1495,1512-16,146L.Ed.2d 389 (4-18-00),the
       Supreme Courtrecently,explicitly,rejected thetheory thatLockhart&.Fretwell,
       506 U.S.364,373,122L.Ed.2d 180,189,113 S.Ct.838 (1993)somehow modified
       Strickland dtto require a separate inquiry into fundam entalfairnesseven when
       yetitioner)isabletoshow thathislawyerwasineffectiveandthathis
       ineffectivenessprobably affected the outcom e ofthe proceeding.''W illiam s t7.Taylor,
       120 S.Ct.1495,1512-116,146L.Ed.2d339 (4-18-00).Thisconstruction ofLockhart
       t?.Fretwell,wasspecifically addressedand rejected by the Supreme Courtin

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          Thisruleisapplicableto find Rprejudice''wherehindsightdemonstratesthat
      counsel's constitutionally deficientperform ance deprived a federalcrim inal

       defendantofconsideration forafavorableadjustmentordownward departureunder
      theU nited States Sentencing Guidelines. United States t?.Glover,121 S.Ct.696

      (zoolltrejectingCourtofAppeals'rulethatonly a<substantial'changein the
      application ofsentencingguidelinesconstitutedRprejudice''within themeaning of
      Strickland).TheStricklandtestforddprejudice''isapplicabletocaseswherea
      crim inal defendant is challenging his conviction or sentence due to actualineffective

      assistance ofcounsel,in the prosecution ofhis direct appeal,Banks r.Reynolds,54

      F.3d 1508(10thCir. 1995),14 with thecaveatthatddprejudice''in thistypeofcase is
      lim ited to the ttoutcom e''ofthe direct appeal. It does not require the defendant to

      dem onstrate that he w ould be dtsuccessfulon rem andM;only that there is a

      reasonable probability that he w ould have had his conviction and/or sentence

      vacated and/or rem anded to the low er court.U nited States t?.M annino,212 F.3d


      W illiants t?.Taylor. The Suprem e Court's holding in Lockhart&.Fretwell,w as
      lim ited to circum stanceswhere a dddifferentoutcom e''would be contrary to the law .
      1d.Seealso:M ayst?.Gibson,(10th Cir.2000)(citing Williantst?.Taylor,120 S.Ct.
      1495,1512-16,146 L.Ed.2d 389(2000));Jackson &.Calderon,2000US App.LEXIS
      9049 (9th Cir.5-8-2000)(same).
      14Scealso United StateslJ.Williamson,183F.3d 458,462 (5th Cir.1999)(holding
      that counselw as deficient because he did notRkeep abreastoflegaldevelopm ents
      related to (Petitioner's)case''which wouldhaverevealeda solidandmeritorious
      appellateissue);United Statesu.M annino,212F.3d 835;2000 U.S.App.LEXIS
      10382 (2nd Cir.2000);M ayo t?Henderson,13F.3d 528 (2nd Cir.1994);Frccpzcn I?.
      Lane,962 F.2d 1252 (7th Cir.1992);Orazio r?.Dugger,876F.2d 1508 (11th Cir.
      1989);M atire0.Wainwright,811F.2d 1430 (11th Cir.1987);Grady t?.Arluz,931
      F.supp.1048(S.D.N .   Y .1996);DanielI?.Thigpen,742F.supp.1535 (M .D.Ala.1990)



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       835 (2nd Cir.2000).Specifically,Fonsecahasm ade specific,sworn,factual
       allegations,in ltisj2255petition thathewasprejudiced by theobjectively
       unreasonableperform ance ofcounselin thepre-trialand sentencing phasesofhis

       Ca se.

           The allegationsofFonseca astoprejudice areasfollows:
           14. Decoste never explained that he w ould not callN ew m an as a w itness since
           he had to divulge that N ew m an w as paying for Fonseca's legalfees and w ould
           havecreated aconflictofinterest.(SeeExhibitA).
           15.H ad D ecoste explained that due to his conflict ofinterest he w ould not
           utilize N ew m an as a defense w itness,Fonseca w ould have never retained him .
           (See ExhibitA).
           16.Decoste's loyalty wasnottowardsFonseca,buttow ardsNewm an (the m ain
           person thatinitiatedthismatter),sincehewasbeingpaid by Newm an to
           representFonseca.(SeeExhibitA).
           17. N ew m an,w ho w as listed as a governm entw itness,w as facing crim inal
           charges ofher ow n,so D ecoste never had intentions ofcalling her for the
           defense,although he m isled Fonseca to this fact.

           18. H ad D ecoste explained the strength ofthe governm ent's case,Fonseca
           w ould not have proceeded to trialand have accepted a plea offer and m itigated
           hisoverallsentence.(SeeExhibitA).
           19.D ecoste never explained the strength ofthe governm ent's case,the
           application ofthe guidelines and upw ard departures and the possibility that
           such an extensive sentence could have been im posed ifhe proceeded to trial.
           (SeeExhibitA).
           20.Thelack ofexplanation by DecostewasprejudicialtoFonseca on his
           decision to proceed to trialversus m itigate his sentence by pleading guilty.

           21.Butforcounsel's failure to prepare forFonseca case there isa reasonable
           probability that Fonseca w ould have received a substantially low er sentence.

           22. Fonseca relied com pletely and in al1m aterialrespects on the advice of
           counseland counsel's failure to explain and be truthfulw ith Fonseca,w as
           detrim entalto his defense.


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          23.Fonseca restates,re-pleads,and re-alleges the facts,pleadings and
          allegationssetforth in !(!'s3-22presentedherein.
          24.Counsel'somissionssetforth in !I5's3-22wherebased on anincomplete
          investigation into the law relevant to Fonseca's case and cause.

          25.Counsel'somissionsassetforth in !!'s3-22 weretheresultofcounsel's
          abdication ofthe duty and responsibility to advocate Fonseca's case and cause
          during the pre-trial,trial,and appellate phases.

          26.Fonsecawasprejudicedfrom theunprofessionalomissionsofcounsel,set-
          forth in !5's3-22becauseabsentsaidomissions,thereisa reasonable
          probability that the outcom e ofthe case and/or sentencing w ould have been
          different.M ore specifically,but for counsel's unprofessionalom issions there is a
          reasonable probability that Fonseca w ould have been sentenced to a
          substantially low er sentence.

          27.Fonsecawasprejudiced from theunprofessionalomissionsofcounsel set
          forth in ss's3-22becausesaid om issionsundermineconfidencein the
          reliability ofthe pre-trial,trial appellate phases.

          Based on the foregoing facts and law,Fonseca has affirm atively pleaded

      tdprejudice''in hiscasewithin themeaningofStrickland t?.Washington,466 U.S.
      668,80 L.Ed.2d 674,104S.Ct.2052 (1984)and United Statesr?.Glover,121S.Ct.
      692 (2001);WilliamsI?.Taylor,120 S.Ct.1495,1512-16,146L.Ed.2d 389 (4-18-00);
      Frccpzc?z&.Lane,962F.2d 1252 (7th Cir.1992)and Oraziot?.Dugger,876 F.2d
       1508,1513-14 (11th Cir.1989).Thismeritoriousclaim ofineffectiveassistanceof
      counselconstitutesboth an independentground forreliefand constitutesGcause''

      allowing the Court to reach the m erits ofFonseca's claim ofviolation of his rights

      undertheSixth Am endment.Freentan t?.Lane,962F.2d 1252 (7th Cir.1992)(the
      itfailure ofappellate counselto preserve on direct appeal,m atters that w illbe

      deem ed m eritorious on collateralreview constitutes cause''under the analysis of

       Wainwrightt?.Sykes,433U.S.72,87,53L.Ed 2d 594,97 S.Ct.2497(1977)and


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       United Statest?.Frady,456U.S.152,167-68,170 (1982))(citing Orazio&.Dugger,
      876F.2d 1508,1513-14 (11th Cir.1989).
          B.ln lightof Rehaifv.United States,both the indictm entforpossession
          ofa firearm by a convicted felon in violation of18U.S.C.j922(g)and
          the conviction to that crim e are constitutionally invalid.

          In Rehaift?.United States,2019 U.S.Lexis4199 (2019)theSupremeCourt
      overruled precedentfrom the Eleventh Circuit- and every othercircuitto have

      spoken ontheissue- aboutthescopeof thecrimedefinedin j922(g).Before
      Rehaif,thegovernmentsecuredafelon-in-possession conviction byprovingmerely
      that the defendant know ingly possessed a firearm and thata court had earlier

      convicted him ofa felony,defined under the statute as a crim e punishable by m ore

      than one yearin prison.Scc,United States tJ.Jackson,120 F.3d 1226,1229 (11th Cir.
       1997). ButtheSupremeCourtproclaimedinRehaifshakthegovernment(dmust
      show thatthe defendant knew he possessed the firearm and also thathe Feniu?he

      had therelevantstatuswhenhepossessedit.''139S.Ct.2191,2194(2019)(emphasis
      added).BecauseFonseca'sindictmentmadeno mention ofthisknowledge-of-status
      elem ent and the governing statute,the conviction violates the FifthîA m endm ent's

      indictmentclause.Thatisnotall.Fonseca'sjul.
                                                y instructions,which alsoomitted
      thiselem ent,wasin error,sothe conviction violateshisFifth Am endm entrightto

      due processoflaw and Sixth Am endm entrights.

              1. W ithout the essential m ens rea elem ent,Fonseca's indictm ent
              failed to charge a crim e atalland,afterRehaih the j922(g)
              conviction of this non-crim e m ust be vacated.

          InRehaif theSupremeCourtclarifiedthattheterm ''knowingly''in 18



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       U.S.C.j924(a)(2)appliesnotonlytothepossession elementin j922(g),butalso to
       that statute's status elem ent. W ithout this know ledge-of-status elem ent,then,

       Fonseca'sindictmentfailedtochargeacrimeatall.AfterRehaif thisCourtmust
       vacateFonseca'sj922(g)conviction and sentence.
                  a.The indlctm entand notlcerequirem entsin llghtofRehalf.
           dtA crim inalconviction w illnotbeupheld ifthe indictm entupon which it is

       based does notsetforth the essentialelem entsofthe offense.'' United States l?.

       Gayle,967F.2d483,485 (11th Cir.1992)(enbanc).Theruleserves twopurposes:
       First,Rit inform s the defendant ofthe nature and cause ofthe accusation as

       required by the Sixth Am endm ent.''15 Second,the rule ddfulfills the Fifth

       Amendment'sindictmentrequirement,ensuringthatagrandjuryonlyreturnsan
       indictm entw hen it finds probable cause to support allthe necessary elem ents of

       thecrime.''Gayle,967 F.2d at485.ThepurposeofthatrequirementGistolimit(a
       defendant's)jeopardytooffensescharged by a group ofhisfellow citizensacting
       independentlyofeithertheprosecutingattorneyorjudge.''StironetJ.United
       States,361U.S.212,218(1960).Underj922(g),ninecategoriesofpersonsare
       prohibited from possessinga firearm orammunition.Butwhile j922(g)(1),for
       exam ple,prohibits felons from possessing a firearm ,thatprovision alone does not

       criminalizesuch conduct.Rather,thatwork isdoneby j924(a)(2),which declares
       thataperson whoddknowinglyviolates''j922(g)ttshallbe ...imprisonednotmore

       15Id.Thenoticettfurnishlesltheaccusedwith such adescription ofthe charge
       against him as w illenable him to m ake his defense,''and to enlist the protections of
       thedoublejeopardy clause,ifnecessary.United Statesr?. Cruikshank,92 U.S.542,
       558 (1875).

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           InRehaif again,theSupremeCourtheldthattheterm ttknowingly''set forth
       in j924(a)(2)appliestoboth thepossession and statuselementsof j922(g).Id.
       139 S.Ct.at 2200. The Court relied upon the Hlongstanding presum ption,

       traceable to the com m on law ,that Congressintendsto require a defendantto

       possess a culpable m entalstate regarding each ofthe statutory elem ents that

       crim inalize otherw ise innocentconduct.''Id. at 2195.The statutory text

       demandedthisoutcome:ttgraheterm tknowingly'in j924(a)(2)modifiestheverb
       d
       violates'and itsdirectobject,wlùch in thiscaseisj922(g).''Id.at2195-2196.
       TheCourtsaw tdnobasistointerprettknowingly'asapplying tothe secondj922(g)
       element(on possessionqbutnotthefirst(on status).Tothecontrary,wethink that
       by specifying thata defendantmaybeconvicted only ifhetknowinglyviolates'j
       922(g),Congressintended to require the Governm entto establish thatthe
       defendantknew heviolatedthematerialelementsofj922(g).''Rehaif,139 S.Ct.
       at2196.Those ddmaterialelements''includenotonly theprohibitedconduct(the
       firearm possession itselg butalsotheprohibited statusthatmakesthepossession
       illegal.1d.Through Rehaiâ theSupremeCourtclarified,thatthereisno
       prosecutable,stand-aloneviolation ofj922(g).lnstead,avalid ttprosecution''
       underUnited Stateslaw mustbeddundergboth)18 U.S.C.j922(g)andj924(a)(2).''
       Id.at2200. The pair ofstatutes w ork in tandem to define the crim e.ln the

       absence ofone,there is no federalcrim e.

              b.Fonseca's indictm ent fails to state a federal crim e.

           The indictm ent did not allege that Fonseca,at the tim e he possessed the



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       firearm ,knew thathe wasa convicted felon. This should be no surprise because,

       atthetimeoftheindictment,the1aw in thiscircuitprovidedthatno j922(g)
       indictm entneeded to averthe defendant's know ledge ofhisprohibited status.

       Jackson,120F.3d at1229 (holdingthattdthe governmentneed notprovethatthe
       defendantknew ofhisprohibited statusM). Butthe factrem ainsthat,after

       Rehaif,theindictmentfailedtodescribe an essentialelementoftheoffenseand,
       indeed,it did not state an offense at all. So w here does this leave us? ttA crim inal

       conviction w illnotbe upheld ifthe indictm ent upon w hich it is based does not set

       forth the essentialelem ents ofthe offense.''Gayle,967 F.2d at485. The absent

       know ledge-of-status language doom s the indictm ent. That is notthe only

       problem w ith the indictm ent. It also failed to cite the proper statutes defining

       thecrime.Theindictmentnam edtûsection 922(g)(1),''butsaid nothingatal1ofj
       924(a)(2).Yettheoffensedependson both j922(g)(which prohibitsthe
       possession offirearmsand ammunition by certain persons)and j924(a)(2)(which
       criminalizesthe (dknowingly violation''ofthatprohibition).In short,thegrand
       jury both failed tochargean essentialelement- knowledgeofstatus- andfailed
       to cite the key provision nam ing the applicable m ens rea and crim inalizing that

       otherwise-innocentconduct.Thegovernment(and,by proxy,thisCourt)carried
       forwardtheflaw by defining thecrime toFonseca athistrialinjustthe same
       W ay.

          W hat shalla Court do w hen faced w ith an indictm ent that once seem ed

       adequate,but in light of a Suprem e Court,clarification is m issing a m ens rea
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       elem ent? In United Statesn.M artinez,800F.3d 1293(11th Cir.2015)apanelof
       the Courtfaced the sam e query. There the indictm entcharged the defendant

       w ith,and he w as later convicted of,know ingly ttansm itting an interstate threat

       in violation of18U.S.C.j875(c).M artinez,800 F.3d at1294.Later,in Elonis&.
       United States,135U.S.2001,2013(2015)theSupreme Courtheld thatj875(c)
       requiresproofofthedefendant'ssubjectiveintentand,in sodoing,the Supreme
       CourtabrogatedtheCourt'sprecedent.1d.135U.S.2001,2013(2015).Following
       E lonis,the M artinez panelheld thatthe indictm ent w as insufficientbecause it

       ttfailled)toallegeM artinez'smensreaorfactsfrom which herintentcanbe
       inferred.''M artinez,800 F.3d at 1295. The indictm ent did Rnot m eet the Fifth

       Am endmentrequirementthatthegrandjury findprobable causeforeach ofthe
       elementsofaviolationofj875(c).''1d.Thepanelvacatedtheconviction and
       sentenceand orderedtheindictmentdismissed withoutprejudice.Id.
           H ere,as in M artinez,a Suprem e Court decision has abrogated the Eleventh

       Circuit's precedentin the very sam e way.The indictm enthere,like the one in

       M artinez,failed to charge a com plete -and,therefore,any -federalcrim e.

       W ithout the requisite ntens rea and statutory citations required by Rehaif,

       Fonseca hasbeen convicted ofa non-crim e.The indictm entisinsufficienton its

       face in violation ofthe Fifth and Sixth Am endm ents,so this Courtshould craft

       thesam eremedy astheM artinezpanel- itshould vacateFonseca'sj922(g)
       conviction.




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               2. TheRehaifopinion appliesretroactively to caseslikeFonseca's
               on collateralreview .

          A prisonerfilinghisfirstj2255 motion isentitledtoreliefifheestablishes
       that his sentence w as im posed in violation ofthe Constitution or law s ofthe

       UnitedStates,orthatthecourtwaswithoutjurisdiction toimpose such a
       sentence,so long asthatm otion isnotuntim ely orotherwise procedurally barred.

       Severalyears before the AE D PA ,the Suprem e Courtbuilt the m odern

      retroactivity scaffold in TccgucI?.Lane489U.S.288 (1989).The Teaguedoctrine
       dem ands that,w ith tw o exceptions,a prisoner m ay not seek to enforce a new rule

       oflaw in a post-conviction proceeding after his conviction is final. Id at 310. O ne of

       the tw o exceptions, how ever,perm itsretroactive application ofnew rules that

       ttplacel)certainkinds ofprimary,privateindividualconductbeyondthepowerof
      the crim inallaw -m aking authority to proscribe,''including dtrules forbidding

      criminalpunishment ofcertain prim aryconductgand)...rulesprohibitinga
      certain category of punishm entfor a classofdefendants because oftheir status or

      offense.''Penry t?.Lynaugh,492U.S.302,330(1989).ThegeneralTeague
      prohibition isinapplicabletoIdsubstantiverulesl,l(whichlgenerally apply
      retroactively.'' Suntmerlin,542U.S.at351,352n.4 (highlighting Teague'sfirst
      exception tonon-retroactivity.) Butwhatisadtsubstantive''rule?ttA ruleis
      substantive ratherthan proceduralifitaltersthe range ofconductorthe class of

      personsthe 1aw punishes.''fd.at353 C1n contrast,rulesthatregulate only the
      mannerofdeterminingthedefendant'sculpability are procedural.'') Finally,a
      rule that narrow s the scope ofa crim inalstatute by interpreting its term s is


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       substantive and applies retroactively. Bousley,523 U .S.at620-21. The new

       Rehaifruleisa substantiverule.TheSupreme Courtnarrowed thescopeofj
       922(g)by proclaimingthataperson violatesthelaw notsimply becauseheisa
       convicted felon,but because he know s he is a convicted felon. W ith this new

       boundary in place,few er defendants can be said to have com m itted the crim e.

       Rehaifreducestheclassofeligiblepeopleand shrinksthescopeofeligible
       conduct- itdtalterstherangeofconduct(and)theclassofpersonsthe1aw
       punishes.''Welch &.United States,136S.Ct.1257,1264-65,1268 (2016)(holding
       that Johnson,the A C CA residualclause,is a tdsubstantive rule that has

       retroactiveeffectin caseson collateralreview.'')Therefore,theRehaifvuïeis
       retroactive.l6 Assuch,thisCourtmustagreethatFonseca'sconviction forthej
       922(g)offense and sentence,mustbesetaside.
          C.Trialcounsellabored under a conflictofinterest since his legalfees
          w ere being paid by N ew m an,w h o w as listed as a governm ent w itness
          during th e trial and w hose testim ony w as crucial for th e defense.

          The legalstandard for ineffective assistance ofcounselclaim s in a habeas

       proceeding isw ellestablished. To prevailon a claim ofineffective assistance of

       counsel,ahabeaspetitionermustdemonstrateboth that(1)counsel'sperformance

       16The Eleventh Circuit's order in In re Palacios does notsay otherw ise because it
       answered adifferentquery.931F.3d 1314,1315 (11th Cir.2019).Therethepanel
       denied an application tofileasecondorsuccessivej2255 motion becauseRehaif
       doesnotannounce a new ruleofconstitutionallaw m ade retroactiveby the
       SupremeCourtitself,asrequiredby j2255t1$.1d.Instead,Sc/zcf/announceda
       new rule ofstatutory law .Id.And in a concurrence,Judge Rosenbaum studied
       TeagueandBousley and declared thatSupremeCourtprecedenttddemandlslthe
       conclusionthatRehaif announcedanew ruleofsubstantive1aw thatisnecessarily
       retroactively applicableunderTccglzc.''Id.at1917(Rosenbaum,J.,concurring).


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      wasdeficientbecauseitfellbelow an objective standard ofreasonablenessand (2)
      prejudiceresultedbecausethere isareasonableprobability that,butforthe
      deficientperform ance,the resultofthe proceeding would have been different.See

      Hinton t?.Alabanta,571U.S.263,272-73,134 S.Ct.1081,188L.Ed.2d 1(2014)
       (citing Strickland u.Washington,466 U .S.668,687,694,104 S.Ct.2052,80 L.Ed.
      2d 674(1984)andPadilla 0.Ky.,559 U.S.356,366,130 S.Ct.1473,176L.Ed.2d
      284 (2010:.'Because a petitioner'sfailure to show eitherdeficientperform ance or
      prejudiceisfataltoa Strickland claim ,acourtneed notaddressboth Strickland
      prongsifthepetitionerfailstosatisfy eitherofthem .''Kokalt7.Scc:y,Dep'tofCorr.,
       623F.3d 1331,1344 (11th Cir.2010)(citationsomitted). ''Tosucceedon an
      ineffective-assistance claim based on a conflictofinterest,Fonseca m ust show

       specific instances in the record that dem onstrate that an actualconflict ofinterest

       adversely affected his law yer's perform ance.''Caderno &.U nited States,256 F .3d

       1213,1218 (citing Cuylert?.Sullivan,446 U.S.335,348,100 S.Ct.1708,64 L.Ed.
       2d 333 (1980);United Statest7.M arrera,768 F.2d201,208)(7th Cir.1985)).''(TJhe
      possibility ofconflictisinsufficientto im pugn a crim inalconviction.''Cuyler,446

       U.S.at350.Otano t?.United States,2019 U.S.Dist.LEXIS 9898,at*22(M .D.Fla.
       Jan.22,2019).
          The Suprem e Court has m odified the standard for claim s ofineffective

       assistance ofcounselthatarise from a conflictofinterest.In Cuylert?.Sullivan,446

       U.S.335,350,100 S.Ct.1708,64 L.Ed.2(1333 (1980)the Courtheld thatto
       establish a Sixth A m endm ent violation under these circum stances,the petitioner



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       'm ustestablish thatan actualconfiictofinterestadversely affected his lawyer's

       perform ance.''The Suprem e Courtlaterclarified the Sullivan standard in M ickens

       t?.Taylor,535U .S.162,122 S.Ct.1237,152L.Ed.2(1291(2002),in tliisway:
           (Tlhe Sullivan standardisnotproperlyreadasrequiringinquiry intoactual
           conflictas som ething separate and apartfrom adverse effect.An 'actual
           conflict,'for Sixth A m endm ent purposes,is a conflictofinterest that adversely
           affects counsel's perform ance.

           M ickens,535 U .S.at l72 n.5.Thus,to establish a constitutionalviolation under

       Sullivan,a crim inaldefendant m ust dem onstrate that his attorney had an actual

       conflict,meaning(1)a conflictofinterestthat(2)adversely affected hislawyer's
       perform ance.SeeHerring t,.Seeretary,Dept.ofCorreetions,397F.3d 1338,1357
       (11th Cir.2005)(recognizingthatin M ickens,the Supreme Court''rephrased the
       analysis somewhatand stated an 'actualconflict'is whata defendantm ust

       establish underCuylertoprovea Sixth Amendmentviolation.'').Ochoa-vasquezt?.
       United States,2016 U.S.Dist.LEXIS 172172,at*15-16 (S.D.Fla.Dec.9,2016).
          A conflictofinterestexistsw hen an attorney has ''inconsistentinterests.'

       Aguilar-Garcia t?.United States,517 Fed.Appx.880,882 (11th Cir.2013).The
       inquiry is ''fact-specific,''1d.,and theconflict''cannotbe m erely possible,

       speculative or hypothetical.'' M ccorkle t?. United States,325 Fed.A ppx.804,808

       (11th Cir.2009).ltisnotenough forapetitionertom akeconclusory allegationsof
       a conflictofinterest;rather,proofof ''specific instances ofinconsistent interests or

       specificimpairmentof(pletitioner'sinterests''isrequired.Jean I?.United States,No.
       2011U.S.Dist.LEXIS 140271(S.D.Fla.Dec.5,2011).




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          Toestablish an adverseeffect,thepetitionermustprovethreeelements:(1)that
      hisattorney ''couldhavepursued aplausiblealternativestrategy,''(2)''thatthis
      alternativewasreasonable''and (3)thathisattorney didnotfollow thealternative
       strategy ''
                 because it conflicted w ith the attorney's externalloyalties.''Aguilar-

       Garcia,517Fed.Appx.at882 (citation omitted).Unlikethestandardunder
       Stickland which requiresproofofactualprejudice,''adefendantwhoshowsthata
      conflict ofinterest actually affected the adequacy ofhis representation need not

       demonstrateprejudicein ordertoobtainrelief.''Sullivan,446 U.S.at349-50.
          W hen Fonseca m ade his first appearance,he w as assigned 1an M cD onald from

       the Public D efender's office to represent him . Shortly thereafter,Decoste filed a

       notice of appearance and assum ed responsibility ofthe case once N ew m an,the

       governm ent's w itness thatbegan the com plete investigation,retained D ecoste to

       represent Fonseca and paid al1his fees. H ere the allegation supported by Fonseca's

       sw orn affidavitw arrants a hearing. Fonseca presented in his sw orn affidavit that

       attorney Decostereceived allpayments(notjustapartialpayment),ofhislegal
       servicesfrom Newman.Newm an wascriticalforthegovernment(in factwaslisted
       asa witness),Dkt.103 at27sinceshewastheinitialperson thatenteredthe
       W algreens m aking the com plaints that Fonseca w as aboutto enter and dshoot

       everyone inside.'' ln fact,N ew m an w as the ow ner ofthe firearm and the

       contraband located in the vehicle and wason standby totestify forthe defense on

       thesefacts,however,nevercalled by Decoste.(ExhibitA) Decoste'sfinancial
       interest(divulgingthatNewm an wasthesourceofhislegalfees),overrodethe



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       decision to callNewm an forFonseca'sdefense.Decosteviolated thethree elem ents

       presentedin Aguilar-Garcia,517Fed.Appx.at882(.(1)thathisattorney ''could
       havepursued aplausible alternative strategy,''(2)''thatthisalternativewas
       reasonable''and (3)thathisattorney did notfollow thealternativestrategy
       ''becauseitconflictedwith theattorney'sexternalloyalties.''Id.(1)-Newman could
       havebeen called(andwasready totestify)thatshewastheownetwhopossessed
       thefirearm ,(notFonseca),(2)Decostedid notfollow theagreed strategy sincehe
       would have to divulge thatNewm an wasthe source ofhispaymentsand (3)the
       ttexternalloyalty''toNewm an (duetothe sourceofhisfunds),conflicted with
       Fonseca'trialdefense. This allegation ofconflict requires a hearing under w ell

       settled-law . The paym ents by N ew m an to D ecoste are notpart ofthe record ofthis

       case.N either is the agreem ent betw een Decoste and N ew m an over the agreem ent

       forFonseca'srepresentation. Al1trialdefensesbetw een Fonseca,Decoste and

       N ewm an were discussed offthe record and are notpartofthe dtrecords and filesof

       thecase.'' Shaw at 1043,Blaylock at 1465. Since Fonseca'saffidavitisuncontested,

       thecourtm usthold an evidentiary hearing to addressthe uncontested fad s.

          A1lFonseca hastoestablish to be granted an evidentiary isto allege-nofprove-

       reasonably specific,non-conclusory facts that,iftrue,w ould entitle him to relief.''

       See,Aron t?.United States,291F.3d 708,714n.5 (11th Cir.2002);Saunderst?.
       United States,278F.App'
                             x.976,978 (11th Cir.2008)(d(71fthepetitioneralleges
       facts that,iftrue,w ould entitle him to relief,then the district court should order an

       evidentiary hearing and rule on the m eritsofhisclaim .'' Aron,,291F.3d at714-15



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       (citationsand internalquotation omitted).iirrhe1aw isclearthat,in ordertobe
       entitled to an evidentiary heating,a petitioner need only allege-not prove-

       reasonably specific,non-conclusory facts that,iftrue,w ould entitle him to relief.''

       Id.Aron at715n.6 (emphasisin original).Theuncontested affidavitfiled with the
       j2255,metthethreshold requirementexplained inAron.Herethethresholdhas
       been m et and the court is required to address an evidentiary hearing as to w hether

      D ecoste placed his financialinterest and N ew m an's paym ents before Fonseca's

       defense.

          D .C ou nselrendered ineffective assistance w hen h e failed to explain to
          F onseca the application ofthe gu idelines,the strength ofth e
          governm ent's case and how the guidelines,along w ith the possibility of
          an upw ard variances,w ould play such an integralpartin his final
          sentence,thus rendering his decision to proceed to trial unknow ingly.

          Fonseca has a right to adequate counselduring the cxiticalstages ofthe

      criminalprocess.Caruso t?.Zelinsky,689F.2d 435 (3rd Cir.1982).Healso ''hasthe
      right to m ake a reasonably inform ed decision w hether to accept a plea or proceed to

      trial.''United States&.Day,969 F.2d 39,43 (31.d Cir.1992)(citingHill&.Lockhart,

      474U.S.52,56-57,106 S.Ct.366,88L.Ed.2d 203(1985:.Even ifthatplea,wasa
      straightplea to the chargeswith an acceptance ofresponsibility. Here Decoste's

      lack ofadvice,violated Fonseca'sSixth Am endm entrighttoeffective counselsince

      Fonseca w as never explained the repercussions ofproceeding to trialversus

      pleadingguilty andmitigatingthecharges.(ExhibitA).M cM ann t?.Richardson,
      397U.S.759,771,90 S.Ct.1441,25L.Ed.2d 763(1970).Asan analogx,in United
      Statesr.M ccoy,215F.3d 102 (D.C.Cir.2000)counseladvisedhisclientofan



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      incorrectapplication ofthe Sentencing Guidelines.On appeal,M ccoy argued that

      his plea w as unconstitutionalbecause itw as based on the ineffectiveness assistance

      ofcounsel. The DistrictofColom bia agreed;itfound thatM ccoy's guilty plea had

      notbeen know ingly and voluntarily m ade.1d. Follow ing this analogy,Fonseca

      provides that his decision to proceed to trialw as based on his attorney's lack of

      explanation ofthe strength ofthe governm ent'scase,the guidelines,upward

      departures and how acceptance ofresponsibility could be used to m itigate the final

      sentence,rendered the decision to proceed to trialinvoluntaor.

          TheM ccoy Courtnotedthatttlm hilenoteveryerrorm ade in calculating an
      applying the guidelineswould constitute deficientperform ance underStrickland,

      the Court em phasized that (fam iliarity w ith the structure and basic content ofthe

      G uidelines,had becom e a necessity for counselw ho seek to give effective

      representation.'''Id.at508 The Courtfurtherfound thattheprejudiceprongof
      Strickland test w as satisfied,in that the difference betw een the sentencing ranges

      wasso signilcantthatthere wasa reasonable probability thatifM ccoy had been

      given correctinform ation he would nothave entered a guilty plea.Id.Counsel's

      failure to fam iliarize him selfwith the relevantportionsofthe Sentencing

      G uidelines causes his actions to fallbelow a reasonable standard ofperform ance

      becausea ttlclriminaldefenseattorneyspracticingin thefederalcourtsareexpected
      to keep abreastofissuesthataffecthis client'scase.''1d.United States t7.Loughery,

      908 F.2d 1014 (D .C.Cir.1990).




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          Here,afterthemotion to suppresswasdenied (themostcriticalportion ofthe
       defense),Fonsecawasnotexplainedthestrength ofthegovernment'scaseandthe
      possibility ofpleading guilty and m itigating the case withoutproceedingto trial.

       (ExhibitA) In fact,thedetailsofthecomplicated natureofthiscasewasknown to
       counselallalong. The follow ing colloquy betw een the parties as they prepared for

       trialsupports this position as the governm ent explained allits witnesses:

             W e have at m inim um eight w itnesses that w e m ust callbecause there have
             been no stipulations as to D N A ,as to drugs,etcetera,so I anticipate that
             som e ofthe w itnesses w illbe quite lengthy.ln addition,w e w illbe
             putting on 911 calls,video,transcripts.There is a lot ofevidence in this case.
             There are over 40 exhibits,42 and based on w hat defense counselsetforth
             this m orning.ltseem s like their case w illhave at least one.I know that they
             are not going to provide the exact num ber ofw itnesses at this tim e.They
             can't,but last w eek during the suppression hearing they also referenced
             additionalevidence that they w illattem pt to put on in their case in chiefthat
             w illpotentially create a situation w here w e then put on a bit ofrebuttalcase.

       Lli.Dkt.98at10.
          Even during this detailed explanation by the governm ent of allthe w itnesses,

       the 911 calls,videos and transcripts,there w as stillno explanation ofthe

       com plicated and extensiveness ofthis case to Fonseca so he could avoid a trialand

       mitigatehiscase. (ExhibitA).Thepossibility ofaresolution withoutatrialwas
       never considered,due to the lack ofexplanation.

              1.Fonseca'slearning disability required a detailed explanation of
              the possibilities of resolving the case w ithout a trial.

          D ecoste w asaware ofFonseca's learning disability asevidenced by review ing

       Fonseca'sprior State ofFlorida arrestl;where itwasdeterm ined,aftera



       17State &.Fonseca,F04-34972 and F05-009412.
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      com petency hearing,thatFonseca had extensivelearning disabilities. Several

      com petency hearings w ere held in these cases to determ ine Fonseca's ability to

      understand the proceedings and his ability to understand the repercussionsofthe

       decision to plead guilty orproceed to trial.A sim ple review ofthe State ofFlorida's

      crim inaldocket w ould have revealed that Fonseca's learning disability w arranted

       specialcare in explaining the case,its strength and the possibilities ofresolving the

       case w ithout a trial. H ad a thorough explanation been m ade,Fonseca w ould not

       have proceeded to trial.(ExhibitA).
          Al1Fonseca m ustonly show thatthere is a Greasonableprobcbf/flxMthatthe

       results ofhis decision to proceed to trialw ould have been different,Id. W illiam s l?.

       Taylor,529 U.S.362,386,120 S.Ct.1495,146L.Ed.2d 389(2000)and based on the
       difference in sentencing guideline ranges,there could be no doubt that a different

       outcomeisevident.(ExhibitA).Itwasthelackofinformation from counselthatled
       to the decision to proceed and not resolve the m atter via a plea. A llm eetings w ith

       counseland Fonseca on w hatw as explained,or not explained are notpartofthe

       record before the court. B ased on the record and the files before this Court,there is

       a reasonable probability thatcounsel's actions have reached a levelof

       ineffectiveness as enum erated in Strickland. United States &.Acklen,47 F.3d 739,

       743-44 (5th Cir.1995)(remandingforan evidentiary hearingwheretherewas
       nothing in the record to indicate counsel'sfailureswere attributable to strategic

       choiceamong allplausiblealternativesavailablefordefense);United Statest7.
       Dawson,857 F.2d 923,929 (31-d Cir.1988)(absentevidencein therecord,tdthiscourt


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      willnotspeculateon trialcounsel'smotives''l;Nicholst?.United States,75F.3d 1137
       (7th Cir.1996)(same).
          E . A ppellate counsel ineffective for failing to raise on appealthat the
          D istrict Court abused its discretion w hen itsentenced Fonseca 60-
          m onths above the Presentence Investigation R eport'srecom m endation
          and the governm ent's recom m endation at sentencing.

           W hen a habeaspetitioner allegesthathiscounselwasineffective forfailing to

       raise an issue on appeal,the courtreview s the m erits ofthe om itted issue. United

       States&.Cook,45F.3d 388 (10th Cir.1995)'
                                              ,United Statest?.Dixon,1F.3d 1080
       (10th Cir.1993). Thefailure toraise an issuethatiswithoutmerit''doesnot
       constitute constitutionally ineffective assistance ofcounsel,''1d.at 1083 n.5,because

       the Sixth A m endm ent does not require an attorney to raise every non-frivolous

       issue on appeal.See Jones t?.Barnes,463 U .S.745,751,77 L .Ed.2d 987,103 S.Ct.

       3308 (1983).Thus,counselfrequently will''winnow out''weakerclaimsin orderto
       focus effectively on those m ore likely to prevail.Sm ith t?.M urray,477 U .S.527,536,

       91L.Ed.2(1434,106S.Ct.2661(1986);seeTapia n.Tansy,926F.2d 1554,1564
       (10th Cir.),cert.denied,502 U.S.835,116 L.Ed.2(184,112S.Ct.115 (1991).
           H ow ever,''an appellate advocate m ay deliver deficientperform ance and

       prejudicea defendantbyomittinga 'dead-bangwinner,'even though counselm ay
       have presented strong butunsuccessfulclaim s on appeal.''Cook,45 F.3d 388,1995

       W L 24338,at*6 (citingPageI?.United States,884F.2d 300,302 (7th Cir.1989)).
           In the instant case,the D istrict Court's upw ard variance w as an error. The

       issue ofthe variance w as exclusively preserved at sentencing since the sentence w as

       above,notonly the sentence requested by the defense,but also by the sentence of
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       175monthsrecommendedby the government.(Dkt.103at35).Thegovernment
       agreed,thatpost-trial,after allthe evidence,that a sentence oftd175 m onths is

       sufficientbutnotgreaterthan necessaryin thissituation.''(Dkt.103 at35). The
       courtin imposinga sentenceat235 monthsclearlyviolatedTitle 18 U.S.C.j3553
       factors. The issue w as clearly preserved for appellate review and w ould have m ost

       likely resulted on a rem and for resentencing. H ow ever,the issue w as never

       addressed since the m atter w as never raised for appellate review since appellate

       counselrendered ineffective assistance.

           F.The cum ulative im pact oftrial counsels errors addressed herein
           require an evidentiary hearing

           Fonseca contends that each ofthe errors addressed herein w as sufficiently

       prejudicialtorequirea reversalofhisconviction.However,shouldthe court
       disagree,then thecumulativeeffectoftheseerrorsdeprivedhim offairandjust
       assistance ofcounsel. tdlndividualerrors,insufficientin them selves to necessitate a

       new trial,m ay in the aggregate have a m ore debilitating effect...so asto deny due

       process.' United Statest7.Fernandez,145F.3d59,66 (1stCir.1998)See,e.g.,
       United Statest?Hands,184 F.3d 1322,1334 (11th Cir.1999);United Statest?.
       M unoz,150F.3d 401,418 (5th Cir.1998),ccrf.denied,525U .S.1112 (1999).
           The errors here w ere m any,they w ere allinterrelated,and their cum ulative

       im pactwas devastating to Fonseca'srightto due processand a clearviolation ofhis

       Sixth A m endm ent right to effective assistance ofcounsel.




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          G .A n evidentiary hearing is necessary and w ould be usefulto the court

           Title28,United StatesCode,j2255 providesthataprisonerin custody under
       sentence of a court established by A ct of Congress claim ing the right to be released

       or for reduction ofa sentence m ay m ove the courtw hich im posed the sentence to

       vacate,set aside or correctthe sentence. This section also provides as follow s:

           Runlessthe m otion and thefilesand recordsofthe case conclusively show that
           the prisoner is entitled to no relief,the court shallcause notice thereofto be
           served upon the U nited States attorney,grant a prom pt hearing thereon,
           determ ine the issuesand m ake l'  indingsoffactand conclusionsof1aw with
           respect thereto.''

       1d.Title 28U.S.C.j2255
           ln theinstantcase assetforth in theStatementofClaim ofthej2255motion,
       and the foregoing argum ents,Fonseca has pleaded,presented evidence,and argued

       the applicable 1aw to dem onstrate that his conviction is violative ofhis Fifth and

       Sixth A m endm ent rights. The allegations are already w ellestablished by the files

       and records ofthis case,m any ofthe m aterialallegations concern events w hich took

       place outside the courtroom and are not,therefore,part ofthe ddfiles and records''.

       These allegations require an evidentiary hearing under w ell-settled law . United

       Statesv.Blaylock,20F.3d 1458,1465(9th Cir.1994)(evidentiary hearingrequired
       unlessj2255 motion,files,andtrialrecord tdconclusively show''petitionerentitled
       tonorelieg;Virgin Islandst?.Weatherwax,20 F.3d 572,573 (3,dCir.1994)
       (petitionerentitledtoevidentiaz.
                                      y hearingon ineffective assistanceofcounselclaim
       wherefactsviewed in lightmostfavorabletopetitionerwould entitlehim torelieg;
       Stoia &.United States,22F.3d 766,768 (7th Cir.1994)(same);Shaw t?.United



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       Sfcfcs,24F.3d 1040,1043 (8tbCir 1994)(same);NicholsI?.United States,75F.3d
       1137,1145-46 (7th Cir.1996)(petitionerentitledtoevidentiary hearingon claim of
       ineffective assistanceofcounselwhen recordinconclusiveon issuel;United Statest7.

       W itherspoon,231F.3d923 (7th Cir.2000).
          B ased on allofthe foregoing,Fonseca respectfully requests this H onorable

       Court to O RD ER an evidentiary hearing w here he can prove his case.

                                        C O N C LU SIO N

              W H EREFORE M OVANT Dam aso Rivera Fonseca respectfully asksthis

       Honorable Courtto (A)ORDER an evidentiaryhearingassetforth in hisj2255
       m otion'
              ,and,upon proofofhis allegations herein,O RD ER that his conviction and

       sentence be VA CA TE D .

          DonethisIVV,dayofDecember2019.
                                                    Respectfully subm 'tted,


                                                    D a aso Rivera-Fronseca
                                                    Register N um ber 06407-104
                                                    U SP Colem an 1
                                                    P.0 .Box 1033
                                                    Colem an,Florida 33521




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                                      SW O RN A FFIDAW T
                                 D A M A SO R IV E RA F O N SE CA

             Comesnow,DamasoRivera Fonseca,underpenalty ofperjurypursuantto
       Title 28U.S.C.j 1746 and providesthissworn affidavitin supportofhisTitle28
       U.S.C.j2255andprovidesasfollows:
                    I am D am aso Rivera Fonseca and 1 am the Petitioner in this cause and

       the defendant in United States t?.Fonsccc,1:15cr20802.

             2.     I w as represented in m y crim inalcase by Attorney Christopher

       Decoste (tDecoste'')duringthecriminaltrialand sentencing.
                    lwas represented by Attorney M ark K atzefClfatzef')during the direct
       appeal.

                    My girlfriend atthe time,BridgetNewman,(dNewman'')wasatthe
       scene on the day ofm y arrest.

                    N ew m an is involved in the boating industry and at the tim e retained,

       paid and w as solely responsible forpaying my legalfeestoDecoste.Shew as m y

       direct contact w ith D ecoste as she w as 100% responsible for alll'
                                                                          inances.

             6.     ItwasdiscussedthatNewm an (whowasresolving herown legalState
       m atters through Decoste,hisassociates and otherfriend attorneys),w asgoing to
       testify for the defense during m y trial.

                    W hen N ew m an w as called to the U .S.A ttorney's office for the

       governm ent,D ecoste handled the m atter.
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             8.       Newm an was on standby to testify forthe defense butwasnotcalled,

       thatthe paraphernalia and firearm located in the van on the day ofthe arrestw as

       not ow ned nor possessed by Fonseca.

             9.       N ew m an w as going to testify that there w as no robbery planned,that I

       w as not going to utilize the firearm and that she m ade no statem ents ofany robbery

       on the day ofthe arrest. ln fact,Newm an was going to testify forthe defense that

       she w as high on drugs the day ofthe arrest and that I did notintend to rob anyone

       nor use the firearm . This statem entis consistent w ith the opening statem ents by

       co-counselTaraN.Kawass(tlfawass'') during openingarguments(Dkt.198 at94).
              10.     N ew m an w as on standby,follow ing D ecoste's directives atalltim es

       during the trialand ready to testify for the defense,how ever,it is unknow n w hy

       D ecoste did not callher,although she w as paying his fees.

                      N ew m an paid Decoste a substantialam ount ofm oney to represent

       Fonseca during the trial,prepared her for the defense,and then failed to callher for

       the defense.

                      lt w as never explained to m e thatby N ew m an paying Decoste there

       w as a conflict.

              13.     l w as m isled by D ecoste that N ew m an w as a viable w itness for the

       defense.

              14.     D uring the preparation for trial,1 w as alw ays told by D ecoste,that by

       Newm an testifying the chancesofvictory w ere enhanced forthe defense.



                                                    2
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                      D ecoste never explained the strength ofthe governm ent's case,the

       guidelines,sentence enhancem ents,nor upw ard departures.

                16. D ecoste wasawareIhave neverbeen arrested by the federal

       authorities and that I w as evaluated on severalprior cases due to m y learning

       disability.

                      H ad D ecoste explained to m e the strength ofthe governm ent's case,

       the guidelines,sentence enhancem ents,or upw ard departures,even in the sim plest

       term s,1 w ould plead guilty,m itigated by sentence,and w ould not have proceeded to

       trial.

                18.   M ost ofthe contact,in this case,w as betw een N ew m an and D ecoste.

                      ltwasnountil1arrived atmyjail,thatlwasexplainedby other
       inm ateshow m y case developed,how m y sentence wascalculated and how I

       received the sentence l received.

                20. Afterthatreview atthejail,iswhen lbegan tocomprehend the
       strength ofthe governm ent's case.

                      1 never had that kind ofexplanation from D ecoste. H ad the

       com plicated nature ofm y case been explained,even in the sim plest term s,I w ould

       nothave proceeded to trialand would have m itigated my term ofincarceration.

                22.   1 feelthat Decoste w as frustrated w ith m y learning disability and did

       not have the tim e or patience to explain to m e the resolutions ofm y case,apart from

       proceeding to trial.



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             23.    Know that1have been explained the strength ofthe governm ent's

       case,the guidelines,sentence enhancem ents,and upw ard departures,l realize that

       m y decision to proceed to trialw as in error and guided by D ecoste and N ew m an.

             24.    O n appeal,l w as represented by Attorney K atzef.

             25.    K atzefw as aw are that Iw anted to appealto a11aspects ofm y case,

       especially the upward departure.

             26.    K atzef did not review w ith m e the appellate brief,nor the issues to

       present on appeal.

             27.    M ost em ails that I sent to K atzefw ere not addressed nor replied to.

             28.    K atzef did not file the issue on appealaddressing the D istrict Courfs

       im proper upw ard variance thatI requeted.

                    I w as forced to raise on appealm y ow n issues,that the Courtdid not

       consider since 1w as represented by K atzef.

             30.    I explicitly requested from K atzefthat non-frivolous issues be raised

       on appeal,how ever,K atzefrefused to even address m y calls or em ails.

                    Irelied in a11respectson Decoste for my case and Katzefform y

       appeal.




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            Executed underpenalty ofperjurypursuanttoTitle28U.S.C.j 1746 this
       day ofDecember2019.

                                              R espectfully subm itted,


                                                    mk
                                              D am so Rivera-Fronseca
                                              R egister N um ber 06407-104




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